804 F.2d 1250Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Billy Weldon CLINE, Plaintiff-Appellant,v.Harry L. ALLSBROOK;  Dr. Stanley;  Dr. Wright;  NursingStaff at Odom Prison Farm, Defendants-Appellees.
    No. 86-7594.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 13, 1986.Decided Nov. 11, 1986.
    
      Billy Weldon Cline, appellant pro se.
      Steve Nimocks, Office of the Attorney General, for appellees.
      E.D.N.C.
      AFFIRMED.
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, District Judge.  (C/A No. 84-1403-CRT)
      Before WIDENER and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion adopting the magistrate's recommendation discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Cline v. Allsbrook, C/A No. 84-1403 (E.D.N.C., Apr. 15, 1986).
    
    
      2
      AFFIRMED.
    
    